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                       THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

JOHN BARNHARDT, ET AL.                                                               PLAINTIFFS

and

UNITED STATES OF AMERICA                                            PLAINTIFF INTERVENOR


v.                                              CIVIL ACTION NO. 4:65-cv-01300–HTW-LGI

MERIDIAN MUNICIPAL SEPARATE
SCHOOL DISTRICT, ET AL.                                                            DEFENDANTS


     ORDER PRELIMINARILY APPROVING SETTLEMENT PURSUANT TO FED. R.
        CIV. P. 23(E) AND REQUIRING NOTICE TO THE PLAINTIFF CLASS

        The Private Plaintiffs John Barnhardt, et al. and Defendants Meridian Public School

District, et al. have jointly moved for preliminary approval by this Court of their proposed

Settlement Agreement that would terminate this desegregation action. The Settlement Agreement

and supporting materials have been submitted to the Court along with the Joint Motion. See

[ECF 158].

        The Court is of the opinion that the settlement embodied in the materials filed with the

Joint Motion should be, and is hereby preliminarily, approved, subject to consideration of any

objections that may be made by members of the plaintiff class.

        Counsel for the parties have conferred and agreed upon the setting and procedures for the

unitary status hearing, for the publication of notice of the hearing, and for public objection and

comment.
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     IT IS, THEREFORE, ORDERED:

1.   That the Court grants preliminary approval of Private Plaintiffs and Defendants’

     settlement of this case, embodied in the Settlement Agreement filed on August 9, 2019, at

     ECF 158-1.

2.   That the Court authorizes publication of the Proposed Settlement and Hearing on Fairness

     of Settlement and Unitary Status (“Notice”), which notifies the public, including the

     plaintiff class, that a fairness hearing will be held in this matter. A copy of which is

     attached to this Agreed Order as Exhibit “A.”

3.   That the Meridian Public School District is directed to publish the Notice three times in

     the general news section and in the legal notice section of the Meridian Star and the

     Clarion-Ledger. Pursuant to the Notice, any objections or comments must be in writing

     and must be mailed to the Court and postmarked on or before September 1, 2023. The

     District shall also post the Notice in the Office of the District’s Superintendent and in

     each school in the District from August 14, 2023, through September 1, 2023. The Court

     finds that this Notice and its publication are sufficient to satisfy due process requirements

     under these circumstances.

4.   The Court shall hold a fairness hearing for the purpose of (1) considering any timely filed

     comments on or objections to the proposed settlement by members of the plaintiff class

     or other members of the community, if there are any such objections, comments, or

     requests to appear at the hearing, and (2) determining whether the District has attained

     unitary status. The hearing shall take place on September 12, 2023, at 9:30 a.m. at the

     United States Federal Courthouse, 501 E. Court Street, Jackson, Mississippi 39201. The

     Court will consider the objections and comments of the public that are received by the




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     Court and are timely postmarked. The Court may hear from persons who appear at the

     hearing who have submitted an Objection or Comment form pursuant to the Notice. A

     copy of the Objection or Comment Form is attached as Exhibit “B” to this Agreed Order.

     The Court will make available for counsel for the parties copies of all timely submitted

     objections and comments as they come in.

5.   The deadline for written comments about and/or objections to the Settlement Agreement

     is September 1, 2023.

6.   On September 1, 2023, counsel for the parties shall exchange a list of witnesses who may

     be called to testify at the hearing and a list of all exhibits that they intend to offer as

     evidence at the hearing.

7.   Parties to the settlement will submit a joint motion for final approval, including a

     proposed final approval order by September 8, 2023.

8.   If necessary, any post-hearing briefing responding to public comments and objections to

     be filed by October 20, 2023.

             SO ORDERED this the 4th day of August, 2023.



                                     /s/HENRY T. WINGATE
                                     UNITED STATES DISTRICT JUDGE




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Agreed to by:

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